                Case 8:24-bk-11048-TA                  Doc 1 Filed 04/24/24 Entered 04/24/24 16:31:35                                    Desc
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Mash Studios, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  7150 Village Dr.
                                  Buena Park, CA 90621
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Orange                                                        Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://mashstudios.com/


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    Mash Studios, Inc.                                                                       Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above
                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                5414

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check        Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                               When                                Case number
                                                 District                               When                                Case number




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Debtor    Mash Studios, Inc.                                                                            Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor      MASHindustries, Inc.                                         Relationship               Affiliate
                                                                Central District of
                                                    District    California                  When      4/24/24                Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                           50-99                                          5001-10,000                               50,001-100,000
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion


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         Name


16. Estimated liabilities      $0 - $50,000                             $1,000,001 - $10 million               $500,000,001 - $1 billion
                               $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                               $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                               $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




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        Fill in this information to identify the case:

        Debtor name     MASH Studios, Inc.
        United States Bankruptcy Court for the:           Central            District of California

        Case number (If known):
                                                                                       (State)
                                                                                                                                                     Check if this is an
                                                                                                                                                        amended filing




     Official Form 204
     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
     Unsecured Claims and Are Not Insiders                                                                                                                           12/15

     A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
     disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
     secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
     largest unsecured claims.


     Name of creditor and complete                Name, telephone number,         Nature of the       Indicate if     Amount of unsecured claim
     mailing address, including zip               and email address of creditor   claim (for          claim is        If the claim is fully unsecured, fill in only unsecured claim
     code                                         contact                         example, trade      contingent,     amount. If claim is partially secured, fill in total claim
                                                                                  debts, bank         unliquidated,   amount and deduction for value of collateral or setoff to
                                                                                  loans,              or disputed     calculate unsecured claim.
                                                                                  professional
                                                                                  services, and
                                                                                                                      Total claim, if       Deduction for      Unsecured
                                                                                                                      partially             value of           claim
                                                                                                                      secured               collateral or
                                                                                                                                            setoff

1
                                              3530 Meier St
    3168 MASHVENTURES                                                                   Rent
                                              Los Angeles, CA 90066                                                                                               652,068.82


2                                                                                                                                                                 224,918.60
    2040 California Department of Tax         450 N Street
                                                                                     Sales Tax
    and Fee Administration                    Sacramento, CA 95814-4311


3                                             Dept. for Lockbox: 9521-11                                                                                          186,025.65
    2440 Great Openings                       PO Box 30516                             Trade
                                              Lansing, MI 48909-8016


4                                                                                                                                                                  90,652.43
                                              1800 E. St. Andrew Place
    2053 Fabcon, Inc.                                                                  Trade
                                              Santa Ana, CA 92705-5043


5                                                                                                                                                                  78,072.64
                                              30130 Seashore Park Drive
    2335 Golden State Fabrication, Inc                                                 Trade
                                              Millville, DE 19967


6                                                                                                                                                                    68,070
                                              21925 Field Parkway Suite 240
    2708 Baresque USA LLC                                                              Trade
                                              Deer Park, IL 60010


7                                      815 South Main St                                                                                                           65,696.83
    2166 Suddath Relocation Systems of
                                       Suite 489W                                      Trade
    Oregon LLC
                                       Jacksonville, FL 32207


8                                                                                                                                                                  60,142.34
                                              4416 138th Pl. SE.
    2306 Concentric Spaces                                                             Trade
                                              Snohomish, WA 98296




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                     MASH Studios, Inc.                                                          Case number (if known)
     Debtor
                   Name




     Name of creditor and complete          Name, telephone number, and         Nature of the     Indicate if   Amount of unsecured claim
     mailing address, including zip code    email address of creditor contact   claim (for        claim is      If the claim is fully unsecured, fill in only unsecured
                                                                                example, trade    contingent, claim amount. If claim is partially secured, fill in
                                                                                debts, bank       unliquidated, total claim amount and deduction for value of
                                                                                loans,            or disputed collateral or setoff to calculate unsecured claim.
                                                                                professional
                                                                                services, and
                                                                                                                    Total claim, if   Deduction for    Unsecured
                                                                                                                    partially         value of         claim
                                                                                                                    secured           collateral or
                                                                                                                                      setoff


9                                                                                                                                                          49,680
                                           100 W. Walnut Ave.
     2063 GLC Millworks                                                              Trade
                                           Fullerton, CA 92831


10                                                                                                                                                         48,766
                                           14711 Artesia Blvd
     2055 Forest Plywood Co.                                                         Trade
                                           La Mirada, CA 90638


11                                         FILE 5915                                                                                                     47,476.46
     3166 KAISER PERMANENTE                132 W 31st Street, 5th Floor         Health Benefits
                                           LOS ANGELES, CA 90074-5915


12                                                                                                                                                       43,705.31
     2734 City Of Los Angeles, Office of   PO Box 30716
                                                                                 Property Tax
     Finance                               Los Angeles, CA 90030-0716


13                                                                                                                                                       39,494.50
                                           2522 North Ontario St.
     2448 Big Red Machine Shop                                                       Trade
                                           Burbank, CA 91504


14                                                                                                                                                       38,778.50
                                           1384 N Hundley St
     2100 Nace Sheet Metal Corp                                                      Trade
                                           Anaheim, CA 92806


15                                                                                                                                                       38,516.24
                                           500 Oracle Parkway
     2787 ORACLE Netsuite                                                            Trade
                                           Redwood Shores, CA 94065


16                                                                                                                                                       35,371.95
                                           5 Bennet St
     3153 MI Concepts LLC                                                            Trade
                                           Old Greenwich, CT 06870


17                                                                                                                                                         31,750
                                           224 E Meats Avenue
     2035 Contract Installations, Inc.                                               Trade
                                           Orange, CA 92865-3329


18                                                                                                                                                         27,000
                                           620 Broadway 1R
     2729 Wing Partners LLC                                                          Trade
                                           New York, NY 10012


19                                                                                                                                                         20,400
     3162 OT Logistics Freight             2232 Dell Range Boulevard
                                                                                     Trade
     Transportation                        Cheyenne, WY 82009


20                                                                                                                                                         20,205
                                           249 W. Baywood Ave. #B
     2103 Oncore Pro                                                                 Trade
                                           Orange, CA 92865




     Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                page 2
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3Blindmice Design
19 Benview Avenue
Orange 2800 Australia

ADEPT Furniture
217 Cesar E Chavez Ave SW
Grand Rapids, MI 49503

Amazon Capital Services, Inc.
PO Box 035184
Seattle, WA 98124-5184

American Express
PO Box 650448
Dallas, TX 75265-0448

Arc Air Logistics, Inc.
1950 East 220th St., Suite 201
Long Beach, CA 90810

ARC Imaging Resources
616 Monterey Pass Road
Monterey Park, CA 91754

Baresque USA LLC
21925 Field Parkway Suite 240
Deer Park, IL 60010

Big Red Machine Shop
2522 North Ontario St.
Burbank, CA 91504

Bright Shark Powder Coating
4530 Schaefer Ave
Chino, CA 91710
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BSP VBP Propco LLC
Attn: Jill Brown, Property Manager
1811 Von Karman Avenue, Suite 1000
Irvine, CA 92612

Byrne Electrical Spclst, Inc.
320 Byrne Industrial Drive
Rockford, MI 49341

California Department of Tax and Fee Administration
P.O. Box 942879
Sacramento, CA 94279

California Department of Tax and Fee Administration
450 N Street
Sacramento, CA 95814-4311

California Office of the Attorney General
PO Box 944255
Sacramento, CA 94244-2550

Camira Group Inc.
2476 Waldorf Court NW
Grand Rapids, MI 49544

Cana Freight Inc
800 N Rainbow Bl STE 208
Las Vegas, NV 89107

Caseworx, Inc.
1130 Research Drive
Redlands, CA 92374

City of Los Angeles
Office of Finance Special Desk Unit
200 North Spring Street, Room 101
Los Angeles, CA 90012
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City Of Los Angeles, Office of Finance
PO Box 30716
Los Angeles, CA 90030-0716

Clearpoint International
1111 Corporate Center Drive No. 103
Monterey Park, CA 91754

Concentric Spaces
4416 138th Pl. SE.
Snohomish, WA 98296

Contract Installations, Inc.
224 E Meats Avenue
Orange, CA 92865-3329

Coordinated Resources, Inc
130 Sutter Street
Third Floor
San Francisco, CA 94104

Cortez Bright Cleaning Services
382 E 116TH Place
Los Angeles, CA 90061

CV. Jepara Crafter Furniture
JL Raya Tahunan Batealit KM 07
Ds. Bawu RT 07 02 Jepara 59461
Central Java Indonesia

Dalymade, Inc.
488 Morgan Ave.
2B
Brooklyn, NY 11222

Davis Property Management, Inc.
Attn: Property Management Village Business Park
1420 Bristol Street North, Suite 100
Newport Beach, CA 92660
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Davis Property Management, Inc.
Attn: Property Management Village Business Park
2377 Crenshaw Blvd., Suite 150
Torrance, CA 90501

DB Engineering
Ro Davila
11916 209th Street
Lakewood, CA 90715

Dell.com
One Dell Way
Round Rock, TX 78682

Digital Rover LLC
257 Steely
Irvine, CA 92614

Douglas Frerichs
131 S. Jackson St Apt 301
Glendale, CA 91205

E.B. Bradley
1150 N. Red Gum
Anaheim, CA 92806

Environments Plus
1700 1st Street
San Fernando, CA 91340

Evensonbest
641 Avenue of the Americas
New York, NY 10011

Excel Rank Company Limited
4 F No 129-143
Haining China
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Fabcon, Inc.
1800 E. St. Andrew Place
Santa Ana, CA 92705-5043

Fed Ex
PO Box 7221
Pasadena, CA 91109-7321

Flores Marble and Granite
533 S Central Park Ave
Anaheim, CA 92802

Forest Plywood Co.
14711 Artesia Blvd
La Mirada, CA 90638

Fotoworks
5069 Exposition Blvd
Los Angeles, CA 90016

Freight Club LLC
12020 Sunrise Valley Drive
Reston, VA 20191

Fundicion Gamboa. Sa De Cv
Av De Las Hojas No. 1, Fraccionamiento Las
Huertas 3rg. seccion
Tiajuana 22115 Mexico

Gabriel North America
560 5th St NW
No. 210
Grand Rapids, MI 49504

Gaslamp Insurance
2244 Faraday Ave
No. 125
Carlsbad, CA 92008
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GLC Millworks
100 W. Walnut Ave.
Fullerton, CA 92831

Golden State Fabrication, Inc
30130 Seashore Park Drive
Millville, DE 19967

Grainger
Dept. 886846207
Palatine, IL 60038-0001

Great Openings
Dept. for Lockbox: 9521-11
PO Box 30516
Lansing, MI 48909-8016

Greenberg Glusker
1900 Avenue of the Stars
Suite 2100
Los Angeles, CA 90067-4590

Grey Matter Customs, Llc
9626 Beverly Road
Pico Rivera, CA 90660

Group Dekko
7315 Innovation Boulevard
Fort Wayne, IN 46818

Gs1 Us, Inc.
Dept. 781271
Detroit, MI 48278-1271

Guardian
PO Box 677458
Dallas, TX 75267-7458
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Haskell and White LLP
300 Spectrum Center Drive, Ste 300
Irvine, CA 92618

Hudson Bearings
7060 Huntley Road
Columbus, OH 43229

Humanscale Corporation
220 Circle Drive North
Piscataway, NJ 08854

Igus Inc.
PO Box 14349
East Providence, RI 02914

Internal Revenue Service
P.O. Box 7346
Philadelphia, PA 19101-7346

Ish Garden Service
PO Box 4598
La Puente, CA 91747

Kaiser Permanente
File 5915
132 W 31st Street, 5th Floor
Los Angeles, CA 90074-5915

Kimash Metal Works
1409 Virginia Ave
Suite J
Baldwin Hills, CA 91706

Kirman Plumbing CO
PO Box 840105
Los Angeles, CA 90084-0105
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Kvadrat Inc.
549 Ottawa Ave NW Suite 307
Grand Rapids, MI 49503

Leaf
P.O. Box 5066
Hartford, CT 06102-5066

Linak U.S. Inc.
2200 Stanley Gault Parkway
Louisville, KY 40223

Line By Rep

Linkedin
62228 Collection Center Drive
Chicago, IL 60693-0622

MASH STUDIOS, Inc.
c o BG Law
Attn: Susan K. Seflin
2611 West Exposition Blvd
Los Angeles, CA 90018

MASHindustries
7150 Village Drive
Buena Park, CA 90621

MASHVENTURES
3530 Meier St
Los Angeles, CA 90066

Maszma Marketing
11 Jalan Balakung 27 7
Shah Alam 40400 Malaysia
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McMaster-Carr Supply Company
600 N. County Line Rd
Elmhurst, IL 60126

MG West - Vendor
PO Box 7231
San Francisco, CA 94120

MI Concepts LLC
Michelle Carlson
5 Bennet St
Old Greenwich, CT 06870

Microsoft Corporation
One Microsoft Way
Redmond, WA 98052

Nace Sheet Metal Corp
1384 N Hundley St
Anaheim, CA 92806

Oncore Pro
249 W. Baywood Ave. No. B
Orange, CA 92865

ORACLE Netsuite
500 Oracle Parkway
Redwood Shores, CA 94065

Orange Courier, Inc
15300 Desman Road
La Mirada, CA 90638

OT Logistics Freight Transportation
2232 Dell Range Boulevard
Cheyenne, WY 82009
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Paychex 401K
1535 Scenic Ave
Suite 100
Costa Mesa, CA 92626

PenskeTruck Leasing Co. L.P.
2675 Morgantown Road
PO Box 1321
Reading, PA 19603-1321

Portugalia Cork S.A.
277 Rua Trabalhador
Mozelos 4535 Portugal

Priority 1
PO Box 840808
Dallas, TX 75284

Prl Glass Systems
13644 Nelson Ave
City Of Industry, CA 91746

Republic Services
PO Box 78829
Phoenix, AZ 85062-8829

Revelations Integrated Services, Inc.
176 W. Pomona Ave
Monrovia, CA 91016

Ringcentral Inc.
20 Davis Drive
Belmont, CA 94002-3002

Rios Clementi Hale Studios
3101 West Exposition Place
Los Angeles, CA 90018
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Robert Half
2613 Camino Ramon
San Ramon, CA 94583

Royal Plywood Company, Llc
Royal Plywood Company
PO Box 728
La Mirada, CA 90637-0728

Service West, Inc.
Dept. LA 23772
Pasadena, CA 91185-3772

Shanghai Kingkus New Material Co., LTD
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